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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
RICHARD RUDOLPH                                                                                             ABBOTT LABORATORIES, INC.

    (b) County of Residence of First Listed Plaintiff             Nassau County, FL                           County of Residence of First Listed Defendant              Mercer
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Stephen G. Console, Esq.
Console Mattiacci Law, LLC
110 Marter Ave., Suite 502, Moorestown, NJ 08057 (856.854.4000)

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         u 1       u 1       Incorporated or Principal Place       u 4     u 4
                                                                                                                                                         of Business In This State

u 2    U.S. Government                u 4     Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u   120 Marine                       u   310 Airplane                 u 365 Personal Injury -              of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u   130 Miller Act                   u   315 Airplane Product               Product Liability        u 690 Other                               28 USC 157                       3729(a))
u   140 Negotiable Instrument                 Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
u   150 Recovery of Overpayment      u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
u   151 Medicare Act                 u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
u   152 Recovery of Defaulted                 Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
        Student Loans                u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
        (Excludes Veterans)          u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
u   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
        of Veteran’s Benefits        u   350 Motor Vehicle            u 370 Other Fraud              u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 490 Cable/Sat TV
u   160 Stockholders’ Suits          u   355 Motor Vehicle            u 371 Truth in Lending                Act                          u 862 Black Lung (923)           u 850 Securities/Commodities/
u   190 Other Contract                       Product Liability        u 380 Other Personal           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))               Exchange
u   195 Contract Product Liability   u   360 Other Personal                 Property Damage                 Relations                    u 864 SSID Title XVI             u 890 Other Statutory Actions
u   196 Franchise                            Injury                   u 385 Property Damage          u 740 Railway Labor Act             u 865 RSI (405(g))               u 891 Agricultural Acts
                                     u   362 Personal Injury -              Product Liability        u 751 Family and Medical                                             u 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     u 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
u   210 Land Condemnation            u   440 Other Civil Rights         Habeas Corpus:               u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
u   220 Foreclosure                  u   441 Voting                   u 463 Alien Detainee                 Income Security Act                  or Defendant)             u 899 Administrative Procedure
u   230 Rent Lease & Ejectment       u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party                  Act/Review or Appeal of
u   240 Torts to Land                u   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
u   245 Tort Product Liability               Accommodations           u 530 General                                                                                       u 950 Constitutionality of
u   290 All Other Real Property      u   445 Amer. w/Disabilities -   u 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       u 462 Naturalization Application
                                     u   446 Amer. w/Disabilities -   u 540 Mandamus & Other         u 465 Other Immigration
                                             Other                    u 550 Civil Rights                   Actions
                                     u   448 Education                u 555 Prison Condition
                                                                      u 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from                 u 3         Remanded from             u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           29 U.S.C. §621, et seq. (“ADEA”), N.J.S.A. 10:5-1, et seq. (“NJLAD")
VI. CAUSE OF ACTION Brief description of cause:
                                           Plaintiff brings this action against Defendant for unlawful discrimination in connection with his age.
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $ In excess of $75,000.00 CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                        JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
          4/11/18
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
________________________________
                                    :
RICHARD RUDOLPH                     :
Fernandina Beach, FL 32034          :
                                    :
                         Plaintiff, :
                                    :    CIVIL ACTION NO.
             v.                     :
                                    :
ABBOTT LABORATORIES, INC.           :
400 College Road East               :
Princeton, NJ 08540                 :
                                    :    JURY TRIAL DEMANDED
                         Defendant. :
________________________________    :

                                        COMPLAINT

I.     PRELIMINARY STATEMENT

       Plaintiff, Richard Rudolph, brings this employment discrimination action against his

former employer, Abbott Laboratories, Inc. (“Abbott” or “Defendant”). A long-time employee

of Defendant who consistently received strong performance reviews, Plaintiff was terminated in

April 2017 at the age of fifty-five (55) after being placed on a sham Action Plan despite

achieving significant sales goals and leading a sales team through substantial revenue growth.

After terminating Plaintiff’s employment, Plaintiff’s supervisor announced that Plaintiff had

“finally retired,” which is inaccurate and an age-based comment.

       Plaintiff was discriminated against because of his age in violation of the Age

Discrimination in Employment Act, as amended, 29 U.S.C. §621, et seq. (“ADEA”), and the

New Jersey Law Against Discrimination, N.J.S.A. 10:5-1, et seq. (“NJLAD”). Plaintiff seeks

damages, including economic, compensatory, liquidated, and punitive damages and all other

relief this Court deems appropriate.
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II.    PARTIES

       1.      Plaintiff, Richard Rudolph, is an individual and a citizen of the State of Florida.

       2.      Plaintiff was born in 1961 and was fifty-five (55) years old at the time of his

termination in April 2017.

       3.      Defendant Abbott is an Illinois corporation with a principal place of business at

400 College Road East, Princeton, NJ 08540.

       4.      Defendant Abbott is engaged in an industry affecting interstate commerce and

regularly does business in the State of New Jersey.

       5.      At all times material hereto, Defendant Abbott employed more than twenty (20)

employees.

       6.      At all times material hereto, Defendant Abbott acted by and through authorized

agents, servants, workmen, and/or employees acting within the course and scope of their

employment with Defendant Abbott and in furtherance of Defendant Abbott’s business.

       7.      At all times material hereto, Defendant Abbott acted as an employer within the

meanings of the statutes which form the basis of this matter.

       8.      At all times material hereto, Plaintiff was an employee of Defendant Abbott

within the meanings of the statutes which form the basis of this matter.

III.   JURISDICTION AND VENUE

       9.      The causes of action which form the basis of this matter arise under the ADEA

and the NJLAD.

       10.     The District Court has jurisdiction over Count I (ADEA) pursuant to 29 U.S.C.

§626(c) and 28 U.S.C. §1331.

       11.     The District Court has supplemental jurisdiction over Count II (NJLAD) pursuant



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to 28 U.S.C. §1367.

           12.     Venue is proper in the District Court under 28 U.S.C. §1391(b).

           13.     On or about June 29, 2017, Plaintiff filed a Charge of Discrimination with the

EEOC, complaining of acts of discrimination alleged herein. Attached hereto, incorporated

herein and marked as Exhibit 1 is a true and correct copy of the EEOC Charge of Discrimination.

           14.     On or about January 12, 2018, the EEOC issued to Plaintiff a Notice of Right to

Sue. Attached hereto, incorporated herein and marked as Exhibit 2 is a true and correct copy of

the EEOC notice.

           15.     Plaintiff has fully complied with all administrative prerequisites for the

commencement of this action.

IV.        FACTUAL ALLEGATIONS

           16.     Plaintiff was first hired by Defendant’s predecessor company, MediSense, in or

around 1989. MediSense was acquired by Defendant in or around 1995.

           17.     Plaintiff left Defendant in 2003 and was recruited to re-join Defendant in its

Point-of-Care division – headquartered in Princeton, NJ - in 2009 as Marketing Manager.

           18.     In total, Plaintiff served Defendant and Defendant’s predecessor for over twenty

(20) years before his termination in April 2017.

           19.     At the time of his termination, Plaintiff was fifty-five (55) years old and held the

position of Director of Sales, US Channel Team. Plaintiff held this position since May 2010.

           20.     At the time of his termination, Plaintiff reported to Jeffrey Devlin (491),

Divisional Vice President (“VP”), US Commercial Operations and Marketing.

           21.     Upon information and belief, Plaintiff was the oldest employee reporting directly

to Devlin.

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    Ages contained herein are approximates.

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       22.      Devlin reported to Sharon Bracken (45), VP, Point of Care Diagnostics (Division

President), who reported to Brian Blaser (52), Executive VP, Diagnostics Products (Abbott

Diagnostics Group President).

       23.      Plaintiff managed Defendant’s Channel Sales team of approximately thirty (30)

employees, and was responsible for increasing sales of Defendant’s Point-of-Care medical

product line.

       24.      Throughout his employment with Defendant, Plaintiff consistently demonstrated

positive performance and dedication to Defendant.

       25.      By way of example, Plaintiff increased Defendant’s sales from less than $30

million to over $91 million between 2010 and 2016.

       26.      Further, Plaintiff earned six (6) President’s Club awards at Defendant, in 1996,

1997, 2010, 2012, 2013, and 2015. Plaintiff also earned, in 2000, the Wallace C. Abbott

Marketer of the Year Award.

       27.      In or about May 2015, Plaintiff began reporting to Devlin.

       28.      Prior to reporting to Devlin, Plaintiff consistently received strong performance

reviews.

       29.      On or about January 3, 2017, for the first time during his tenure with Defendant,

Plaintiff received a Partially Achieved Expectations rating in his 2016 review.

       30.      Devlin gave Plaintiff this rating even though Plaintiff had achieved 95.6% of his

2016 goal.

       31.      Plaintiff’s 2016 performance rating decreased his total 2017 compensation

package, including his merit increase, profit sharing, and restricted stock unit offering.

       32.      Younger employees reporting to Devlin missed their 2016 financial goals by a



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higher percentage than Plaintiff but received a better performance rating from Devlin.

        33.     On or about January 19, 2017, Defendant placed Plaintiff on an 90-day Action

Plan. The Action Plan stated that Plaintiff was “not meeting performance expectations required

of [him] in [his] role.”

        34.     Plaintiff was Devlin’s only direct report who was placed on an Action Plan at that

time even though no other direct report to Devlin achieved their sales plan number.

        35.     As part of his Action Plan, Plaintiff was directed to place two (2) of his direct

reports on Action Plans: (1) Ron Gonzalez (53), Regional Sales Manager (Central); and (2) Andy

Bietlitz (57), Regional Sales Manager (West).

        36.     Both of these employees and direct reports of Plaintiff were over the age of fifty

(50).

        37.     Plaintiff was not directed to place his other two (2) direct reports on an Action

Plan: (1) Joe Linn (42), National Account and Government Manager; and (2) Francisco Merrill

(38), Regional Sales Manager (East).

        38.     Plaintiff’s two (2) direct reports who were not placed on an Action Plan were

substantially younger than Plaintiff and Plaintiff’s direct reports who were ordered by Defendant

to be placed on Action Plans.

        39.     Plaintiff’s Action Plan required him to attain all key sales metrics for each sales

region and each month within the 90-day Action Plan period. This goal was not realistic or

feasible.

        40.     On or about March 23, 2017, Devlin emailed Plaintiff a mid-point review of his

Action Plan progress. Devlin criticized Plaintiff’s performance and focused on his alleged

failures. The review was not a fair representation of Plaintiff’s performance, and Plaintiff



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submitted a written response to the review regarding its inaccurate content and unjust criticisms.

        41.     On or about April 20, 2017, Devlin asked Plaintiff to call him on his conference

call line for their scheduled one-on-one meeting on April 21, 2017.

        42.     When Plaintiff called Devlin on April 21, 2017, Devlin and Lisa Siko (42),

Human Resources representative, were both on the call. Devlin stated that this was the 90-day

mark of the Action Plan, and that Plaintiff had not been making sufficient progress on the Action

Plan.

        43.     Devlin stated that Plaintiff’s employment was terminated, effective immediately.

        44.     When Plaintiff asked Devlin why he was terminated, Devlin stated that he should

look at the March 23, 2017 mid-point review. Plaintiff responded that this review did not

accurately reflect Plaintiff’s performance, and that the group was exceeding its sales goals.

        45.     On April 21, 2017, Plaintiff was informed that Devlin stated to his sales group

that Plaintiff had “finally retired.”

        46.     Devlin also congratulated Plaintiff’s sales group for its strong performance.

        47.     Plaintiff was the only employee directly reporting to Devlin who was terminated

effective April 21, 2017.

        48.     On or about June 23, 2017, Plaintiff was informed by Heather Dal Cielo,

Manager, Abbott Laboratories Employee Relations, that he was not eligible for rehire at

Defendant. The stated reason was that “this was approved by several layers.”

        49.     Defendant’s stated reasons for terminating Plaintiff’s employment are a pretext

for age discrimination.

        50.     Defendant’s conduct evidences a pattern and practice of bias against older

employees. Defendant targets and pushes out employees over the age of fifty (50) and treats



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younger employees more favorably.

         51.    By way of example, in or about January 2016, Devlin terminated Gary Hamil

(55), Regional Manager, for alleged performance issues.           Merrill (38) replaced Hamil as

Regional Manager.

         52.    Plaintiff’s age was a motivating and/or determinative factor in Defendant’s

discriminatory treatment of Plaintiff and in the termination of Plaintiff’s employment.

         53.    As a direct and proximate result of the discriminatory conduct of Defendant,

Plaintiff has in the past incurred, and may in the future incur, a loss of earnings and/or earning

capacity, loss of benefits, pain and suffering, embarrassment, humiliation, loss of self-esteem,

mental anguish, and loss of life’s pleasures, the full extent of which is not known at this time.

         54.    The conduct of Defendant, as set forth above, was outrageous under the

circumstances, was done by and with the knowledge of upper management and warrants the

imposition of punitive damages against Defendant.

         55.    The conduct of Defendant, as set forth above, was willful and intentional.

                                        COUNT I (ADEA)

         56.    Plaintiff incorporates herein by reference paragraphs 1 through 55 above, as if set

forth herein in their entirety.

         57.    By committing the foregoing acts of discrimination against Plaintiff, Defendant

Abbott has violated the ADEA.

         58.    Said violations were willful and warrant the imposition of liquidated damages.

         59.    As a direct and proximate result of Defendant Abbott’s violations of the ADEA,

Plaintiff has suffered the damages and losses set forth herein and has incurred attorneys’ fees and

costs.



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        60.     Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant Abbott’s discriminatory acts unless and until this

Court grants the relief requested herein.

        61.     No previous application has been made for the relief requested herein.

                                       COUNT II (NJLAD)

        62.     Plaintiff incorporates herein by reference paragraphs 1 through 61 above, as if set

forth herein in their entirety.

        63.     Defendant Abbott, by the foregoing acts of discrimination, has violated the

NJLAD.

        64.     Said violations were intentional and willful and warrant the imposition of punitive

damages.

        65.     There was participation by upper management of Defendant Abbott in connection

with the discrimination to which Plaintiff was subjected.

        66.     As a direct and proximate result of Defendant Abbott’s violations of the NJLAD,

Plaintiff has sustained the injuries, damages and losses set forth herein.

        67.     Plaintiff is now suffering and will continue to suffer irreparable injuries and

monetary damages as a result of Defendant Abbott’s discriminatory acts unless and until the

Court grants the relief requested herein.

        68.     No previous application has been made for the relief requested herein.




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                                              RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in favor of

Plaintiff, Richard Rudolph, and against Defendant Abbott. Plaintiff seeks damages and legal and

equitable relief in connection with Defendant’s improper conduct, and specifically prays that the

Court grant the following relief to the Plaintiff by:

       (a)     declaring the acts and practices complained of herein to be in violation of the

ADEA;

       (d)     declaring the acts and practices complained of herein to be in violation of the

NJLAD;

       (e)     enjoining and permanently restraining the violations alleged herein;

       (f)     entering judgment against Defendant in favor of Plaintiff in an amount to be

determined;

       (g)     awarding compensatory damages to Plaintiff to make Plaintiff whole for all past

and future lost earnings, benefits and earnings capacity which Plaintiff has suffered and will

continue to suffer as a result of Defendant’s discriminatory and unlawful misconduct;

       (h)     awarding compensatory damages to Plaintiff for past and future emotional upset,

mental anguish, humiliation, loss of life’s pleasures and pain and suffering, which Plaintiff has

suffered or may suffer as a result of Defendant’s improper conduct;

       (i)     awarding liquidated damages to Plaintiff under the ADEA;

       (l)     awarding punitive damages to Plaintiff under the NJLAD;

       (m)     awarding Plaintiff such other damages as are appropriate under the ADEA and the

NJLAD;

       (n)     awarding Plaintiff the costs of suit, expert fees and other disbursements, and



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reasonable attorneys’ fees; and,

       (o)     granting such other and further relief as this Court may deem just, proper, or

equitable including other equitable and injunctive relief providing restitution for past violations

and preventing future violations.



                                                     CONSOLE MATTIACCI LAW, LLC


Dated: April 11, 2018                                By:    _________________________
                                                            Stephen G. Console
                                                            110 Marter Avenue, Suite 502
                                                            Moorestown, NJ 08057
                                                            console@consolelaw.com
                                                            856-854-4000
                                                            856-854-4006 (fax)

                                                            Attorneys for Plaintiff,
                                                            Richard Rudolph




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                 Exhibit 1
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                 Exhibit 2
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